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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK

                                                        Case No. 1:05-md-01720-MKB-VMS
     IN RE PAYMENT CARD INTERCHANGE
     FEE AND MERCHANT DISCOUNT                          NOTICE OF APPEARANCE
     ANTITRUST LITIGATION




    TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

          I am admitted to practice in this Court, and I appear in this case as counsel for Cascade

    Settlement Services LLC.




    Dated: September 16, 2024                  Respectfully submitted,


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